     Case 2:17-cr-00101-WFN      ECF No. 522    filed 08/29/17   PageID.1330 Page 1 of 1




 1                         UNITED STATES DISTRICT COURT
 2                      EASTERN DISTRICT OF WASHINGTON
 3
 4   UNITED STATES OF AMERICA,                       No. 2:17-CR-00101-WFN-20

 5                       Plaintiff,                  ORDER DENYING
 6                                                   MODIFICATION OF RELEASE
                         v.                          CONDITIONS
 7
 8   OLTON LEON GAINES,                              MOTION DENIED
                                                      (ECF No. 519)
 9
                         Defendant.
10
           Before the Court is Defendant’s Motion to Modify Release Conditions. ECF
11
     No. 519.
12
           In his motion, Defendant requests that he be allowed to travel to Western
13
     Washington and Northern Idaho for the purposes of his employment. ECF No. 519
14
     at 1. However, Defendant does not provide enough information about the
15
     requested travel for this Court to consider the motion.
16
           Therefore, Defendant’s motion, ECF No. 519, is DENIED, with leave to
17
     renew. The Court requires additional information: including, but not limited to,
18
     the type of employment, the frequency and manner of travel, whether or not the
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     Defendant proposes to be out of the district over night or for extended periods of
20
     time and if so, where he will stay, and the proposed method of contact to be
21
     employed with Pretrial Services while Defendant is traveling.
22
           IT IS SO ORDERED.
23
           DATED August 29, 2017.
24
25                                _____________________________________
26                                          JOHN T. RODGERS
                                   UNITED STATES MAGISTRATE JUDGE
27
28



     ORDER - 1
